                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                              3:22-MD-03036-KDB


                                                         )
 IN RE: GARDASIL PRODUCTS LIABILITY                      )                MDL No. 3036
 LITIGATION                                              )
                                                         )      THIS DOCUMENT RELATES TO
                                                         )        ALL BELLWETHER CASES
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                                                         )

    MERCK’S AMENDED MOTION TO EXCLUDE TESTIMONY AND OPINIONS
             OF PLAINTIFFS’ EXPERT PETER GØTZSCHE, M.D.
                     Fed R. Evid. 702, Local Civ. R. 7.1

       Defendants Merck & Co., Inc. and Merck, Sharp & Dohme LLC (together, “Merck”)

respectfully move to exclude the testimony of Plaintiffs’ expert Peter Gøtzsche, M.D. In support

of this motion, Merck concurrently submits its Memorandum in Support.

       This the 6th day of January, 2025.

                                                /s/ Allyson M. Julien

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